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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

CARLOS MANUEL AYESTAS,                 §
            Petitioner,                §
                                       §
v.                                     § Civil Action No. 4:09-CV-2999
                                       §
BOBBY LUMPKIN, Director,               §    (Death Penalty Case)
Texas Department of Criminal           §
Justice, Correctional Institutions     §
Division,                              §
                  Respondent.          §

           RESPONDENT’S UNOPPOSED MOTION TO AMEND
                   THE SCHEDULING ORDER

      This Court entered a scheduling order on November 15, 2021, governing

the parties’ deadlines related to Ayestas’s amended federal petition. ECF No.

110. Under that scheduling order, the Director’s answer was due February 14,

2022, but the Court granted the Director’s request for an extension of time to

file the answer on or before March 16, 2022. ECF No. 112. The remaining

deadlines in the Court’s scheduling order, however, have thus far remained

unaltered. In the interest of fairness to both parties, the Director now

respectfully moves to amend the scheduling order so that all remaining

deadlines also receive a corresponding extension of thirty days. Specifically,

the Director requests that the Court amend the scheduling order as follows:

      • The Director’s answer will be due March 16, 2022.
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     • Ayestas’s reply to the Director’s answer shall be filed on or before May

        16, 2022.

     • The parties shall file motions for discovery under Rule 6 of the Rules

        Governing § 2254 Cases (Rule 6 motions) on or before June 13, 2022.

     • Responses to Rule 6 motions shall be filed on or before July 13, 2022.

     • Replies to responses to Rule 6 motions shall be filed on or before

        August 3, 2022.

                                   Respectfully submitted,

                                   KEN PAXTON
                                   Attorney General of Texas

                                   BRENT WEBSTER
                                   First Assistant Attorney General

                                   JOSH RENO
                                   Deputy Attorney General
                                   for Criminal Justice

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                                   s/ Gwendolyn S. Vindell
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                     CERTIFICATE OF CONFERENCE

     I, Gwendolyn S. Vindell, Assistant Attorney General of Texas, do hereby

certify that opposing counsel, Anwar L. Graves, confirmed by email on

February 11, 2022, that he is unopposed to this motion.

                                   s/ Gwendolyn S. Vindell
                                   GWENDOLYN S. VINDELL
                                   Assistant Attorney General

                        CERTIFICATE OF SERVICE

     I do hereby certify that a true and correct copy of the foregoing pleading

was served by placing same in the United States Mail, postage prepaid, on this

the 11th day of February, 2022, addressed to:

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                                   s/ Gwendolyn S. Vindell
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